8:12-cr-00107-LSC-TDT        Doc # 184     Filed: 12/06/13     Page 1 of 2 - Page ID # 515




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:12CR107
                                              )
              Plaintiff,                      )
                                              )                MEMORANDUM
              vs.                             )                 AND ORDER
                                              )
TAMMY L. SCHUCK,                              )
                                              )
              Defendant.                      )

       The Court has received the Revised Presentence Investigation Report and

Addendum (“PSR”) and the Defendant's Position Statement Re: Revised Presentence

Investigation Report & Request for Oral Testimony (Filing No. 175). The government filed

a Statement of Position Regarding the Revised Presentence Investigation Report (Filing

No. 178) and Sentencing Memorandum (Filing No. 179). The Defendant has also filed a

Motion for Downward Variance/Departure & Legal Memorandum in Support (Filing No.

176). See Amended Order on Sentencing Schedule, ¶ 6. The Court advises the parties

that these Tentative Findings are issued with the understanding that, pursuant to United

States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       Accordingly,

       IT IS ORDERED:

       1.     The parties’ statements and objections regarding the PSR (Filing Nos. 175

and 178) will be heard at the sentencing hearing;

       2.     The parties will be permitted to offer oral testimony at the sentencing hearing;

       3.     The Court intends to adopt the PSR in all other respects;

       4.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the
8:12-cr-00107-LSC-TDT         Doc # 184   Filed: 12/06/13      Page 2 of 2 - Page ID # 516




submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       5.     Absent submission of the information required by paragraph 4 of this Order,

these tentative findings are final;

       6.     The Defendant’s Motion for Downward Variance/Departure & Legal

Memorandum in Support (Filing No. 176) will be heard at sentencing; and

       7.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 6th day of December, 2013.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   Chief United States District Judge




                                               2
